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Attorneys for Plaintiffs

Amazon Content Services, LLC;
Columbia Pictures Industries, Inc.;
Disney Enterprises, Inc.; : Nettlix
Studios, LL - Paramount Pictures
Corporation; Son ny Pictures Television
Inc.; Twentieth Century Fox Film
Corporation; Universal City Studios
Productions ‘LLLP; Universal Cable
Productions LLC; Universal Television
LLC; Warner Bros. Entertainment Inc.,

Plaintiffs,
VS.

Set Broadcast, LLC d/b/a Setvnow;
Jason Labossiere; Nelson Johnson,

Defendants.

 

 

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KELLY M. KLAUS (State Bar No. 161091)
A. KIM (State Bar No. 295277)

MICHAEL B. DESANCTIS (admitted pro hac vice)

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

Case No. 2:18-C V-03325-MWF (AS)

DECLARATION OF ELIZABETH
A. KIM IN SUPPORT OF
PLAINTIFFS’ APPLICATION FOR
ENTRY OF DEFAULT AGAINST
DEFENDANT SET BROADCAST,
LLC D/B/A SETVNOW

Judge: Hon. Michael W. Fitzgerald
Magistrate Judge: Hon. Alka Sagar

Filed concurrently: PLAINTIFFS’
APPLICATION FOR ENTRY OF
DEFAULT AGAINST DEFENDANT
SET BROADCAST, LLC D/B/A
SETVNOW

 

 

 

KIM DECL. I/S/O APPLICATION FOR DEFAULT AGAINST SET BROADCAST

CASE NO. 2:18-CV-03325-MWF (AS)

 
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I, Elizabeth A. Kim, am an attorney at the law firm of Munger, Tolles &
Olson LLP, which represents the Plaintiffs in this matter. The facts stated in this
declaration are true and are based upon my personal knowledge. If called upon to
do so, I could testify truthfully and competently to them.

1. On April 17, 2019, the Court issued an Order to Show Cause why
Defendant Set Broadcast LLC’s Answer should not be stricken for failure to retain
counsel. ECF Dkt. 45. Pursuant to the Order, Defendant Set Broadcast was to show
cause in writing no later than May 13, 2019.

2. On April 22, 2019, Mr. Joseph Shapiro of the law firm Strong and
Hanni certified his service of the Court’s April 17, 2019 Order to Show Cause on
Defendants Set Broadcast LLC, Jason Labossiere, and Nelson Johnson. ECF Dkt.
46. To the best of my knowledge, Defendant Set Broadcast LLC was properly
served with the Court’s Order via certified mail and email by Mr. Shapiro.

3. Defendant Set Broadcast LLC has not responded to the Court’s April
17, 2019 Order to Show Cause.

4. To the best of my knowledge, Defendant Set Broadcast LLC has not
retained new counsel.

5. I declare under penalty of perjury that the foregoing is true and correct

and that this declaration was executed this 20" day of May 2019 at San Francisco,

( ELIZABETH A. KIM

California.

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KIM DECL. I/S/O APPLICATION FOR DEFAULT AGAINST SET BROADCAST

 

 

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